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 1 SCOTT N. CAMERON (SBN 226605)
     Attorney at Law
 2 1007 7th Street, Suite 319
     Sacramento, CA 95814
 3 Ph. 916-769-8842
 4
     Attorney for:
 5 LATROY CUNNINGHAM
 6
 7                          IN THE UNITED STATES DISTRICT COURT
 8                             EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                          CASE NO. 2:12-cr-00169-MCE-7
11                                 Plaintiff,           ORDER FOR COMPETENCY
                                                        EXAMINATION PURSUANT
12   v.                                                 TO 18 U.S.C. § 4241(b)
13   LATROY CUNNINGHAM, et. al.,
14                                 Defendants,
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            After hearing on this matter, based on the arguments presented and the declaration of
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     defense counsel, the Court finds that there is reasonable cause to believe that the LATROY
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     CUNNINGHAM may be suffering from a mental disease or defect rendering him mentally
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     incompetent to the extent that he is unable to assist properly in his defense.
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            Therefore, LATROY CUNNINGHAM is hereby committed to the custody of the
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     Attorney General of the United States for placement in a suitable facility for the purpose of a
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     psychiatric or psychological examination pursuant to 18 U.S.C § 4241(b).
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 1         In accordance with 18 U.S.C. § 4247(b), the commitment of LATROY
 2 CUNNINGHAM is to be for a reasonable period, not to exceed thirty days, unless the
 3 director of the facility applies for a reasonable extension not to exceed fifteen days upon
 4 showing of good cause that additional time is necessary to observe and evaluate LATROY
 5 CUNNINGHAM.
 6         IT IS SO ORDERED.
 7 Dated: April 29, 2014
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